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      Cayman and Global IP USA, Inc.
    9
   10                                UNITED STATES DISTRICT COURT
   11                              CENTRAL DISTRICT OF CALIFORNIA
   12
   13 STM ATLANTIC N.V., a Dutch                    Case No. 2:18-cv-01269-JLS-JCG
      company; STM GROUP, INC., a
   14 Delaware corporation; EMIL                    GLOBAL-IP CAYMAN AND
      YOUSSEFZADEH, an individual; and              GLOBAL IP USA, INC.’S
   15 UMAR JAVED, an individual,                    RESPONSES TO PLAINTIFFS’
                                                    EVIDENTIARY OBJECTIONS TO
   16                      Plaintiffs,              DECLARATIONS FILED IN
                                                    SUPPORT OF GLOBAL-IP
   17           v.                                  CAYMAN AND GLOBAL IP USA,
                                                    INC.’S OPPOSITION TO
   18 DONG YIN DEVELOPMENT                          PLAINTIFFS’ MOTION FOR
      (HOLDINGS) LIMITED, a Hong Kong               JUDICIAL DETERMINATION
   19 unlimited company; CHINA ORIENT
      ASSET MANAGEMENT                              [FILED UNDER SEAL PER COURT
   20 (INTERNATIONAL) HOLDING                       ORDER OF APRIL 2, 2018]
      LIMITED, a Hong Kong limited
   21 company; and LUDWIG CHANG, an                 HEARING
      individual,,                                  Judge: Hon. Josephine L. Staton
   22                                               Date: May 11, 2018
                   Defendants.                      Time: 2:30 p.m.
   23                                               Place: Courtroom 10A
   24
   25
   26
   27
   28
                                                  -1                             Case No. 2:18-cv-01269-JLS-JCG
        SMRH:486221230.2                         GIP’S RESPONSES TO PLAINTIFFS’ EVIDENTIARY OBJECTIONS TO
                                                          DECLARATIONS FILED IN SUPPORT OF ITS OPPOSITION
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    1           Non-parties Global-IP Cayman and Global IP USA, Inc. (collectively, “GIP”)
    2 hereby respond to the Evidentiary Objections of Plaintiffs STM Atlantic N.V., STM
    3 Group, Inc., Emil Youssefzadeh and Umar Javed (collectively, “Plaintiffs”) to the
    4 Declarations of Bahram Pourmand, Ludwig Chang, Shiyue Liu, William Wade and
    5 Yuen Cheung Wong submitted in support of its Opposition to Plaintiffs’ Motion for
    6 Judicial Determination that the Milbank Memo, Chen Memo and Related
    7 Communications are not Subject to the Attorney-Client Privilege or Work Product
    8 Doctrine.
    9
   10 A.        Objections to the Declaration of Bahram Pourmand.
   11
   12                      Material Objected To:                    Grounds for Objection:
   13    1.        Pourmand Decl. ¶ 3, p. 2, ll. 21-25:    Lack of Foundation (Fed. R. Evid.
   14              “However, to my knowledge, Dong         403, 405, 601, 602 and 701);
                   Yin’s and Amore’s interest and          Speculation (Fed. R. Evid. 602, 701).
   15              influence over GIP have not             Mr. Pourmand fails to provide facts
   16              extended beyond that of a typical       sufficient to establish the basis for his
                   commercial lender minding a nine-       alleged personal knowledge
   17              figure investment. To my                regarding Dong Yin’s and Amore’s
   18              knowledge, Dong Yin and Amore           interest and influence over GIP
                   have never requested or received        and/or whether they requested or
   19              any of GIP’s attorney-client            received GIP attorney-client
   20              privileged communications or            privileged communications or
                   attorney work product.”                 attorney work product; moreover,
   21                                                      Mr. Pourmand was relieved of his
   22                                                      duties as CEO in September 2016,
                                                           and was rarely present at the GIP
   23                                                      offices in El Segundo prior to July
   24                                                      2017. As a result, Mr. Pourmand’s
                                                           statements amount to nothing more
   25                                                      than speculation. Slevin v. Home
   26                                                      Depot, 120 F. Supp. 2d. 822, 835-836
                                                           (N.D. Cal. 2000) (stating that a
   27                                                      declaration based on speculation
   28                                                      should not be considered).

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    1 RESPONSE:
    2                      Mr. Pourmand has provided facts sufficient to establish the basis for his
    3 personal knowledge regarding Dong Yin’s and Amore’s interest and influence over
    4 GIP and whether they requested or received GIP attorney-client privileged
    5 communications or attorney work product. Prior to the text quoted by Plaintiffs, Mr.
    6 Pourmand states, “Through my work with GIP, I am aware that Dong Yin is the
    7 parent company of Amore Resources Limited (‘Amore’).” Mr. Pourmand further
    8 established, in paragraph one of his declaration, that he is the Chief Executive
    9 Officer of Global-IP Cayman and Global IP USA, Inc. See Fed. R. Evid. 602;
   10 Strong v. Valdez Fine Foods, 724 F.3d 1042, 1045 (9th Cir. 2013) (“[T]he
   11 requirement of personal knowledge imposes only a minimal burden on a witness; if
   12 reasonable persons could differ as to whether the witness had an adequate
   13 opportunity to observe, the witness's testimony is admissible.”). Further, Mr.
   14 Pourmand’s statements are not speculative because he specifically states that he is
   15 speaking only to his knowledge.
   16                                   ____ Sustained ____ Overruled
   17
   18                       Material Objected To:                       Grounds for Objection:
   19    2.        Pourmand Decl. ¶ 4, p. 3, ll. 7-8:          Best evidence (Fed. R. Evid. 1002).
   20              “These contracts are stamped                Mr. Pourmand fails to provide the
                   ‘Proprietary’ (Boeing) and                  referenced contracts in support of his
   21              ‘Proprietary and Confidential’              assertion. Fed. R. Evid. 1002 (“An
   22              (SpaceX).”                                  original writing, recording, or
                                                               photograph is required in order to
   23                                                          prove its content unless these rules or
   24                                                          a federal statute provides
                                                               otherwise.”).
   25
   26 RESPONSE:
   27                      Mr. Pourmand did not fail to provide the referenced contracts in
   28 support of his assertion. Mr. Pourmand states, two sentences after the assertion
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    1 quoted by Plaintiffs, “True and correct copies of these non-disclosure agreements,
    2 which have been partly redacted, are attached to GIP’s Compendium of Exhibits
    3 (the ‘Compendium’) as Exhibit A.”
    4                                   ____ Sustained ____ Overruled
    5
    6                       Material Objected To:                     Grounds for Objection:
    7    3.        Pourmand Decl. ¶ 6, p. 4, ll. 9-15:       Best evidence (Fed. R. Evid. 1002).
    8              “The Shareholders Agreement is            Mr. Pourmand fails to provide the
                   governed by the law of England and        referenced Shareholders Agreement
    9              Wales, contains a dispute resolution      in support of his assertion. Fed. R.
   10              provision obligating the parties to       Evid. 1002 (“An original writing,
                   resolve disputes through final and        recording, or photograph is required
   11              binding arbitration in Hong Kong          in order to prove its content unless
   12              administered by the Hong Kong             these rules or a federal statute
                   International Arbitration Centre          provides otherwise.”).
   13              (‘HKIAC’) under the HKIAC
   14              Administered Arbitration Rules, and
                   contains yet another confidentiality
   15              provision requiring them to keep
   16              confidential business information of
                   Global IP Cayman confidential
   17              while they remain a shareholder and
   18              for two years thereafter.”

   19
        RESPONSE:
   20
                           The Shareholders Agreement has been submitted as an exhibit in
   21
        Plaintiffs’ moving papers (see Dkt. 29-4, Exhibit 7) and Plaintiffs do not dispute the
   22
        authenticity of the Shareholders Agreement or Mr. Pourmand’s descriptions or
   23
        characterizations of that agreement.
   24
                                        ____ Sustained ____ Overruled
   25
   26
                            Material Objected To:                     Grounds for Objection:
   27
   28
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                                                              DECLARATIONS FILED IN SUPPORT OF ITS OPPOSITION
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    1    4.        Pourmand Decl. ¶ 7, p. 4, l. 26 – p.        Lack of Foundation (Fed. R. Evid.
                   5, l. 2:                                    403, 405, 601, 602 and 701);
    2
                   “In the course and scope of its             Speculation (Fed. R. Evid. 602, 701).
    3              engagement as counsel for GIP,              Mr. Pourmand fails to provide facts
                   Milbank prepared a confidential             sufficient to establish the basis for his
    4
                   legal memorandum for GIP dated              alleged personal knowledge
    5              April 25, 2017 (the ‘Milbank                regarding Milbank’s reason for
    6              Memo’), and thereafter circulated it        circulating the Milbank Memo;
                   to GIP for purposes of providing            moreover, Mr. Pourmand was
    7              GIP confidential legal advice.”             relieved of his duties as CEO in
    8                                                          September 2016, and was rarely
                                                               present at the GIP offices in El
    9                                                          Segundo prior to July 2017. As a
   10                                                          result, Mr. Pourmand’s statements
                                                               amount to nothing more than
   11                                                          speculation. Slevin v. Home Depot,
   12                                                          120 F. Supp. 2d. 822, 835-836 (N.D.
                                                               Cal. 2000) (stating that a declaration
   13                                                          based on speculation should not be
   14                                                          considered).

   15
        RESPONSE:
   16
                           Mr. Pourmand has provided facts sufficient to establish the basis for his
   17
        personal knowledge regarding Milbank’s reason for circulating the Milbank Memo.
   18
        Prior to the text quoted by Plaintiffs, Mr. Pourmand states, “Throughout my time
   19
        with GIP, GIP has used the law firm of Milbank, Tweed, Hadley & McCloy LLP,
   20
        including Partner Dara Panahy (collectively ‘Milbank’), for the purpose of obtaining
   21
        confidential legal advice.” Accordingly, Mr. Pourmand’s statement also does not
   22
        constitute speculation. See Fed. R. Evid. 602; Strong v. Valdez Fine Foods, 724
   23
        F.3d 1042, 1045 (9th Cir. 2013) (“[T]he requirement of personal knowledge
   24
        imposes only a minimal burden on a witness; if reasonable persons could differ as to
   25
        whether the witness had an adequate opportunity to observe, the witness's testimony
   26
        is admissible.”).
   27
                                        ____ Sustained ____ Overruled
   28
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    1                      Material Objected To:                     Grounds for Objection:
    2    5.        Pourmand Decl. ¶ 8, p. 5, ll. 13-15:     Lack of Foundation (Fed. R. Evid.
    3              “To my knowledge, except for the         403, 405, 601, 602, 701); Speculation
                   Individual Plaintiffs, all GIP Board     (Fed. R. Evid. 602, 701).
    4              Members and executives have              Mr. Pourmand fails to provide facts
    5              treated the Milbank Memo and its         sufficient to establish the basis for his
                   contents confidentially and kept         alleged personal knowledge as to
    6              them internal to GIP or                  how GIP Board Members and
    7              Bronzelink.”                             executives treated the Milbank
                                                            Memo and/or whether they kept it
    8                                                       internal to GIP or Bronzelink;
    9                                                       moreover, Mr. Pourmand was
                                                            relieved of his duties as CEO in
   10                                                       September 2016, and was rarely
   11                                                       present at the GIP offices in El
                                                            Segundo prior to July 2017. As a
   12                                                       result, Mr. Pourmand’s statements
   13                                                       amount to nothing more than
                                                            speculation. Slevin v. Home Depot,
   14                                                       120 F. Supp. 2d. 822, 835-836 (N.D.
   15                                                       Cal. 2000) (stating that a declaration
                                                            based on speculation should not be
   16                                                       considered).
   17
   18 RESPONSE:
   19         Mr. Pourmand has provided facts sufficient to establish the basis for his

   20 personal knowledge as to how GIP Board Members and executives treated the
   21 Milbank Memo and whether they kept it internal to GIP or Bronzelink. Prior to the
   22 text quoted by Plaintiffs, Mr. Pourmand states, “I received a copy of the Milbank
   23 Memo on or about April 25, 2017, in my capacity as a member of the board of
   24 directors of GIP and as the GIP CEO. A true and correct (albeit redacted) copy of
   25 that memorandum is attached as Exhibit E to the Compendium. As a Board Member
   26 and CEO of GIP, I reviewed the Milbank Memo and discussed its contents with
   27 other GIP executives and directors in confidential settings, for the purpose of
   28 assessing what, if any, measures GIP should take in response to the Milbank Memo.
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    1 I consider the Milbank Memo to be a confidential, privileged communication from
    2 GIP’s counsel, and I have treated it as such.” See Fed. R. Evid. 602; Strong v.
    3 Valdez Fine Foods, 724 F.3d 1042, 1045 (9th Cir. 2013) (“[T]he requirement of
    4 personal knowledge imposes only a minimal burden on a witness; if reasonable
    5 persons could differ as to whether the witness had an adequate opportunity to
    6 observe, the witness's testimony is admissible.”). Mr. Pourmand’s statements are
    7 further not speculation because he specifically states that he is speaking only to his
    8 knowledge.
    9                                ____ Sustained ____ Overruled
   10
   11                      Material Objected To:                    Grounds for Objection:
   12    6.        Pourmand Decl. ¶ 9, p. 5, ll. 22-25:    Lack of Foundation (Fed. R. Evid.
   13              “In the course and scope of his work    403, 405, 601, 602 and 701);
                   as general counsel, Chen prepared a     Speculation (Fed. R. Evid. 602, 701).
   14              confidential legal memorandum for       Mr. Pourmand fails to provide facts
   15              GIP dated June 14, 2017 (the ‘Chen      sufficient to establish the basis for his
                   Memo’), and thereafter circulated it    alleged personal knowledge
   16              to GIP for purposes of providing        regarding Chen’s reason for
   17              GIP confidential legal advice.”         circulating the Chen Memo;
                                                           moreover, Mr. Pourmand was
   18                                                      relieved of his duties as CEO in
   19                                                      September 2016, and was rarely
                                                           present at the GIP offices in El
   20                                                      Segundo prior to July 2017. As a
   21                                                      result, Mr. Pourmand’s statements
                                                           amount to nothing more than
   22                                                      speculation. Slevin v. Home Depot,
   23                                                      120 F. Supp. 2d. 822, 835-836 (N.D.
                                                           Cal. 2000) (stating that a declaration
   24                                                      based on speculation should not be
   25                                                      considered).

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    1 RESPONSE:
    2                      Mr. Pourmand has provided facts sufficient to establish the basis for his
    3 personal knowledge regarding Chen’s reason for circulating the Chen Memo. Mr.
    4 Pourmand established, through paragraphs 1 and 8 of his declaration, that he served
    5 as the Chief Executive Officer and a member of the board of directors of GIP. He
    6 further established, in paragraph 9 preceding the text quoted by Plaintiffs, that “GIP
    7 hired Chris Chen to serve as GIP’s in-house general counsel.” Mr. Pourmand has
    8 thus provided sufficient foundation for his knowledge regarding Chen’s work “for
    9 the purpose of providing GIP confidential legal advice.” Accordingly, Mr.
   10 Pourmand’s statement also does not constitute speculation. See Fed. R. Evid. 602;
   11 Strong v. Valdez Fine Foods, 724 F.3d 1042, 1045 (9th Cir. 2013) (“[T]he
   12 requirement of personal knowledge imposes only a minimal burden on a witness; if
   13 reasonable persons could differ as to whether the witness had an adequate
   14 opportunity to observe, the witness's testimony is admissible.”).
   15                                   ____ Sustained ____ Overruled
   16
   17                       Material Objected To:                       Grounds for Objection:
   18    7.        Pourmand Decl. ¶ 10, p. 6, ll. 6-8:         Lack of Foundation (Fed. R. Evid.
   19              “Except for the Individual Plaintiffs,      403, 405, 601, 602 and 701);
                   I believe that all GIP Board                Speculation (Fed. R. Evid. 602, 701).
   20              members and executives have                 Mr. Pourmand fails to provide facts
   21              treated the Chen Memo and its               sufficient to establish the basis for his
                   contents confidentially and kept            alleged personal knowledge
   22              them internal to GIP or Bronzelink,         regarding how GIP Board Members
   23              its majority owner.”                        and executives treated the Chen
                                                               Memo and/or whether they kept it
   24                                                          internal to GIP or Bronzelink;
   25                                                          moreover, Mr. Pourmand was
                                                               relieved of his duties as CEO in
   26                                                          September 2016, and was rarely
   27                                                          present at the GIP offices in El
                                                               Segundo prior to July 2017. As a
   28                                                          result, Mr. Pourmand’s statements
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    1                                                          amount to nothing more than
                                                               speculation. Slevin v. Home Depot,
    2
                                                               120 F. Supp. 2d. 822, 835-836 (N.D.
    3                                                          Cal. 2000) (stating that a declaration
                                                               based on speculation should not be
    4
                                                               considered).
    5
    6 RESPONSE:
    7                      Mr. Pourmand has provided facts sufficient to establish the basis for his
    8 personal knowledge regarding how GIP Board Members and executives treated the
    9 Chen Memo and whether they kept it internal to GIP or Bronzelink. Immediately
   10 prior to the text quoted by Plaintiffs, Mr. Pourmand stated, “I received a copy of the
   11 Chen Memo on or about June 14, 2017, in my capacity as a member of the board of
   12 directors of GIP and as the GIP CEO. In those capacities, I reviewed the Chen
   13 Memo and discussed its contents with other GIP directors and executives in
   14 confidential settings, for the purpose of determining what, if any, measures GIP
   15 should take in response to the Chen Memo.” Accordingly, Mr. Pourmand’s
   16 statement also does not constitute speculation. See Fed. R. Evid. 602; Strong v.
   17 Valdez Fine Foods, 724 F.3d 1042, 1045 (9th Cir. 2013) (“[T]he requirement of
   18 personal knowledge imposes only a minimal burden on a witness; if reasonable
   19 persons could differ as to whether the witness had an adequate opportunity to
   20 observe, the witness's testimony is admissible.”).
   21                                   ____ Sustained ____ Overruled
   22
   23                       Material Objected To:                       Grounds for Objection:
   24    8.        Pourmand Decl. ¶ 11, p. 6, ll. 19-24:       Lack of Foundation (Fed. R.
   25              “Later that same day, Mr.                   Evid. 602).
                   Youssefzadeh sent an email to               Mr. Pourmand is not copied on the
   26              SpaceX and an email to Boeing               referenced emails, nor does he state
   27              Satellite Systems International             how he received copies of the emails;
                   (“Boeing”) purporting to reveal             further, the referenced exhibits do not
   28              some of the contents of the Milbank         appear to be true and correct copies
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    1              Memo and the Chen Memo.                       of the referenced emails. The true
                   Attached as Exhibits I – J to the             and correct copies have been
    2
                   Compendium are true and correct               submitted into evidence by Plaintiffs
    3              copies of these emails, which have            with the Motion. See Plaintiffs’
                   been partly redacted to protect the           Compendium of Exhibits, Exhs. 45-
    4
                   privilege.”                                   46.
    5
    6 RESPONSE:
    7                      Plaintiffs fail to provide any basis for their belief that Exhibits I and J
    8 are not true and correct copies of the emails sent from Emil Youssefzadeh to Boeing
    9 and SpaceX. Indeed, Exhibits I and J to GIP’s Compendium of Exhibits in support
   10 of its Opposition are the exact same documents as Exhibits 45 and 46 to Plaintiff’s
   11 Compendium of Exhibits, with the exception of variations in redactions.
   12 Moreover, Mr. Pourmand’s testimony is relevant not for the purpose of
   13 authenticating the emails (the authenticity is not disputed) but instead to show that
   14 Mr. Pourmand and GIP did not have advanced notice of or authorize the sending of
   15 those emails or the making of those disclosures.
   16                                    ____ Sustained ____ Overruled
   17
   18                       Material Objected To:                         Grounds for Objection:
   19    9.        Pourmand Decl. ¶ 11, p. 6, l. 25 – p.         Improper Legal Conclusion;
   20              7, l. 2:                                      Improper Opinion of a Lay Witness
                   “I consider these emails to                   (Fed. R. Evid. 701) with respect to
   21              constitute unauthorized disclosures           the terms “unauthorized” and
   22              of GIP’s privileged information. I            “breached his fiduciary duty.”
                   also believe that Emil Youssefzadeh
   23              breached his fiduciary duty (as a
   24              Board Member) to GIP when he
                   unilaterally made these disclosures
   25              without prior notice or approval
   26              from the Board.”

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    1 RESPONSE:
    2                      Whether Mr. Pourmand considered Mr. Youssefzadeh’s emails as
    3 authorized by GIP is not an improper legal conclusion. Indeed, whether GIP
    4 permitted or approved of Mr. Youssefzadeh’s conduct is a factual matter not based
    5 in law. See, e.g., Hangarter v. Provident Life and Acc. Ins. Co., 373 F.3d 998, 1016
    6 (9th Cir. 2004) (finding that testimony that defendants deviated from industry
    7 standards supported a finding that they acted in bad faith, and that such testimony
    8 did not reach a legal conclusion that defendants actually acted in bad faith).
    9                                  ____ Sustained ____ Overruled
   10
   11                       Material Objected To:                    Grounds for Objection:
   12    10.       Pourmand Decl. ¶ 12, p. 7, ll. 4-6:      Improper Legal Conclusion;
   13              “In the wake of Mr. Youssefzadeh’s       Improper Opinion of a Lay Witness
                   unauthorized disclosure to Boeing,       (Fed. R. Evid. 701) with respect to
   14              Boeing asked for information             the term, “unauthorized disclosure.”
   15              relating to what efforts GIP was
                   taking since Mr. Youssefzadeh’s
   16              email.”
   17
   18 RESPONSE:
   19         Whether Mr. Pourmand considered Mr. Youssefzadeh’s emails as

   20 authorized by GIP is not an improper legal conclusion. Indeed, whether GIP
   21 permitted or approved of Mr. Youssefzadeh’s conduct is a factual matter not based
   22 in law. See, e.g., Hangarter v. Provident Life & Acc. Ins. Co., 373 F.3d 998, 1016
   23 (9th Cir. 2004) (finding that testimony that defendants deviated from industry
   24 standards supported a finding that they acted in bad faith, and that such testimony
   25 did not reach a legal conclusion that defendants actually acted in bad faith).
   26                                  ____ Sustained ____ Overruled

   27
   28
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    1                      Material Objected To:                    Grounds for Objection:
    2    11.       Pourmand Decl. ¶ 13, p. 7, ll. 15-23:   Improper Legal Conclusion;
    3              “As to any of my communications         Improper Opinion of a Lay Witness
                   on behalf of GIP to GIP’s business      (Fed. R. Evid. 701) with respect to
    4              partners Boeing Satellite Systems       the terms “shared interest,”
    5              International (GIP’s satellite          “reasonably necessary” and “made
                   provider) and SpaceX (GIP’s             on a confidential basis pursuant to
    6              satellite launch provider) regarding    the parties’ nondisclosure
    7              export control compliance, those        agreements.”
                   communications were made during
    8              a time period when the parties had
    9              and continue to have a shared
                   interest in export control
   10              compliance (particularly in the
   11              context of the allegations being
                   raised by the Individual Plaintiffs
   12              and the multiple lawsuits that they
   13              have filed), the communications
                   were reasonably necessary to
   14              further that shared interest, and the
   15              communications were made on a
                   confidential basis pursuant to the
   16              parties’ nondisclosure agreements.”
   17
   18 RESPONSE:
   19         Mr. Pourmand is describing the time period in which he sent

   20 communications on behalf of GIP to GIP’s business partners, Boeing and SpaceX,
   21 on the basis on his personal knowledge as the Chief Executive Officer of GIP and a
   22 member of its board of directors. Mr. Pourmand is not making any conclusion
   23 regarding the applicability of the nondisclosure agreements to his communications.
   24 See, e.g., Hangarter v. Provident Life & Acc. Ins. Co., 373 F.3d 998, 1016 (9th Cir.
   25 2004) (finding that testimony that defendants deviated from industry standards
   26 supported a finding that they acted in bad faith, and that such testimony did not
   27 reach a legal conclusion that defendants actually acted in bad faith).
   28                                ____ Sustained ____ Overruled

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    1                       Material Objected To:                       Grounds for Objection:
    2    12.       Pourmand Decl. ¶ 14, p. 7, l. 28 – p.       Lack of Foundation (Fed. R. Evid.
    3              8, l. 2:                                    403, 405, 601, 602, 701);
                   “It was my understanding from               Inadmissible Hearsay (Fed. R. Evid.
    4              conversations with other GlP Board          801).
    5              Members that Dr. Altwein and Ms.            Mr. Pourmand fails to provide facts
                   Miao were business consultants              sufficient to establish the basis for
    6              retained by Bronzelink.”                    any alleged personal knowledge as to
    7                                                          whether Dr. Altwein and Ms. Miao
                                                               were business consultants retained by
    8                                                          Bronzelink. He also cannot base his
    9                                                          assertion on alleged conversations
                                                               with other GIP Board Members (who
   10                                                          are unidentified nonetheless) which
   11                                                          are out of court statements that
                                                               cannot be introduced for the truth of
   12                                                          the matter asserted.
   13                                                          Fed. R. Evid. 801.

   14
   15 RESPONSE:
   16
                           Mr. Pourmand has provided facts sufficient to establish the basis for his
   17
        personal knowledge regarding whether Dr. Altwein and Ms. Miao were business
   18
        consultants retained by Bronzelink because he states that he learned this information
   19
        through conversations with other GIP board members. These conversations are not
   20
        inadmissible hearsay because Mr. Pourmand is not attempting to speak to a specific
   21
        statement from his conversations with other GIP board members. Even if these
   22
        conversations constitute a statement for purposes of Federal Rule of Evidence 801,
   23
        Mr. Pourmand is not seeking to admit it for the truth of the matter asserted, but
   24
        rather to illustrate that he had no reason to believe Dr. Altwein and Ms. Miao were
   25
        sent by Dong Yin (as he clarifies two sentences after the text quoted by Plaintiffs).
   26
        See Fed. R. Evid. 602; Strong v. Valdez Fine Foods, 724 F.3d 1042, 1045 (9th Cir.
   27
        2013) (“[T]he requirement of personal knowledge imposes only a minimal burden
   28
                                                       -13                             Case No. 2:18-cv-01269-JLS-JCG
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    1 on a witness; if reasonable persons could differ as to whether the witness had an
    2 adequate opportunity to observe, the witness's testimony is admissible.”).
    3                                ____ Sustained ____ Overruled
    4
    5                      Material Objected To:                    Grounds for Objection:
    6    13.       Pourmand Decl. ¶ 14, p. 8, ll. 2-4:     Lack of Foundation (Fed. R.
    7              “I understood that [Dr. Altwein and     Evid. 403, 405, 601, 602, 701);
                   Ms. Miao] were sent on behalf of        Inadmissible Hearsay (Fed. R.
    8              Bronzelink to help Bronzelink           Evid. 801).
    9              gauge the economic prospects of         Mr. Pourmand’s vague assertion
                   GIP’s plans to launch satellites and    as to what he “understood” fails
   10              provide telecommunication services      to provide facts sufficient to establish
   11              for Africa.”                            the basis for personal knowledge
                                                           with regard to who sent Dr. Altwein
   12                                                      and Ms. Miao and/or the reason they
   13                                                      were sent. He also cannot base his
                                                           assertions on alleged conversations
   14                                                      with other GIP Board Members
   15                                                      which are out of court statements that
                                                           cannot be introduced for the truth of
   16                                                      the matter asserted. Fed. R. Evid.
   17                                                      801.

   18
   19 RESPONSE:
   20         Mr. Pourmand has provided facts sufficient to establish the basis for his

   21 personal knowledge regarding who sent Dr. Altwein and Ms. Miao and/or the reason
   22 they were sent because he states in the same paragraph that he learned this
   23 information through conversations with other GIP board members. These
   24 conversations are not inadmissible hearsay because Mr. Pourmand is not attempting
   25 to speak to a specific statement from his conversations with other GIP board
   26 members. Even if these conversations constitute a statement for purposes of Federal
   27 Rule of Evidence 801, Mr. Pourmand is not seeking to admit it for the truth of the
   28 matter asserted, but rather to illustrate that he had no knowledge regarding whether
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    1 Dr. Altwein and Ms. Miao were sent by Dong Yin. See Fed. R. Evid. 602; Strong v.
    2 Valdez Fine Foods, 724 F.3d 1042, 1045 (9th Cir. 2013) (“[T]he requirement of
    3 personal knowledge imposes only a minimal burden on a witness; if reasonable
    4 persons could differ as to whether the witness had an adequate opportunity to
    5 observe, the witness's testimony is admissible.”).
    6                                 ____ Sustained ____ Overruled
    7
    8 B.        Objections to Declaration of Ludwig Chang.
    9
   10                      Material Objected To:                  Grounds for Objection:
   11    14.       Chang Decl., in its entirety.          The Declaration of Ludwig Chang
   12                                                     should be stricken in its entirety as it
                                                          was not signed by Mr. Chang as
   13                                                     required by 28 U.S.C. Section 1746.
   14                                                     See Lelieve v. Oroso, 846 F. Supp.
                                                          2d 1294, 1299 n.2 (S.D. Fla. 2012)
   15                                                     (not considering as evidence an
   16                                                     amended complaint that did not
                                                          contain a signed and dated
   17                                                     declaration in compliance with 28
   18                                                     U.S.C. § 1746). Moreover, any
                                                          subsequent filing of an amended
   19                                                     declaration would be untimely under
   20                                                     the Court’s scheduling order dated
                                                          April 2, 2018.
   21
   22 RESPONSE:
   23         Although Mr. Chang did not personally sign his declaration because he
   24 was traveling in Nukus, Uzbekistan, he authorized his attorney, Jennifer L. Williams
   25 of Cohen Williams LLP to sign on his behalf. Moreover, strict compliance with 28
   26 U.S.C. Section 1746 is not required where evidence proffered is duplicative of
   27 evidence contained in other sworn declarations. See, e.g., Cunningham v. Bank
   28 One, 487 F. Supp. 2d 1189, 1190-1191 (W.D. Washington 2007). Here, Mr.
                                            -15                  Case No. 2:18-cv-01269-JLS-JCG
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    1 Chang’s testimony has been corroborated by Plaintiffs themselves through the
    2 additional declarations of Mr. Youssefzadeh and Mr. Javed in support of their reply.
    3                                   ____ Sustained ____ Overruled
    4
    5                       Material Objected To:                     Grounds for Objection:
    6    15.       Chang Decl. ¶ 2, p. 2, ll. 26-27:         Best evidence (Fed. R. Evid. 1002).
    7              “In exchange for my services, the         Mr. Chang fails to provide the
                   Individual Plaintiffs paid me             referenced check in support of his
    8              $1,600, through a check from STM          assertion. Fed. R. Evid. 1002 (“An
    9              Atlantic N.V.”                            original writing, recording, or
                                                             photograph is required in order to
   10                                                        prove its content unless these rules or
   11                                                        a federal statute provides
                                                             otherwise.”).
   12
   13 RESPONSE:
   14                      The Best Evidence Rule is inapplicable because Mr. Chang is not
   15 seeking to prove the contents of the check from STM Atlantic N.V. Mr. Chang
   16 rather states that he was paid $1,600 by Individual Plaintiffs on the basis of his
   17 personal knowledge, and references the check from STM Atlantic as the method by
   18 which he received this amount. See Fed. R. Evid. 1002, Notes of Advisory
   19 Committee on Proposed Rules (“For example, payment may be proved without
   20 producing the written receipt which was given.”); U.S. v. Gonzales-Benitez, 537
   21 F.2d 1051, 1053 (9th Cir. 1976) (“The [best evidence] rule does not set up an order
   22 of preferred admissibility, which must be followed to prove any fact. It is, rather, a
   23 rule applicable only when one seeks to prove the contents of documents or
   24 recordings.”).
   25                                   ____ Sustained ____ Overruled
   26
   27
   28
                                                     -16                             Case No. 2:18-cv-01269-JLS-JCG
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    1 C.        Objections to Declaration of Shiyue Liu.
    2
    3                       Material Objected To:                       Grounds for Objection:
    4    16.       Liu Decl. ¶ 4, p. 3, ll. 1-4:               Lack of Foundation (Fed. R. Evid.
    5              “. . . Bronzelink from time to time         403, 405, 601, 602 and 701);
                   receives privileged and/or                  Speculation (Fed. R. Evid. 602, 701).
    6              confidential information relating to        Ms. Liu fails to provide facts
    7              GIP. Whilst I am not involved in            sufficient to establish the basis
                   Bronzelink’s day-to-day operations,         for her alleged personal knowledge
    8              it is my understanding that                 as to how Bronzelink treats
    9              Bronzelink treats all such                  privileged and/or confidential
                   information as privileged and/or            information relating to GIP and/or
   10              confidential, and does not disclose it      whether it discloses such information
   11              to anyone outside of Bronzelink             to anyone outside Bronzelink; in fact,
                   except pursuant to a non-disclosure         Ms. Liu admits she is not involved it
   12              agreement and for business                  Bronzelink’s day-today operations.
   13              reasons.”                                   As a result, Ms. Liu’s statements
                                                               amount to nothing more than
   14                                                          speculation. Slevin v. Home Depot,
   15                                                          120 F. Supp. 2d. 822, 835-836 (N.D.
                                                               Cal. 2000) (stating that a declaration
   16                                                          based on speculation should not be
   17                                                          considered).

   18
        RESPONSE:
   19
                           Ms. Liu has provided facts sufficient to establish the basis for her
   20
        personal knowledge regarding how Bronzelink treats privileged or confidential
   21
        information relating to GIP and whether it discloses such information to anyone
   22
        outside Bronzelink. Ms. Liu established, in paragraph 1 of her declaration, that she
   23
        has served on the Board of Directors for Bronzelink since June 3, 2016. Ms. Liu
   24
        clearly states that she has an understanding regarding this matter. Accordingly, Ms.
   25
        Liu’s statement also does not constitute speculation. See Fed. R. Evid. 602; Strong
   26
        v. Valdez Fine Foods, 724 F.3d 1042, 1045 (9th Cir. 2013) (“[T]he requirement of
   27
        personal knowledge imposes only a minimal burden on a witness; if reasonable
   28
                                                        -17                            Case No. 2:18-cv-01269-JLS-JCG
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    1 persons could differ as to whether the witness had an adequate opportunity to
    2 observe, the witness's testimony is admissible.”).
    3                                ____ Sustained ____ Overruled
    4
    5                      Material Objected To:                      Grounds for Objection:
    6    17.       Liu Decl. ¶ 5, p. 3, ll. 18-19:           Best evidence (Fed. R. Evid. 1002).
    7              “These contracts are stamped              Ms. Liu fails to provide the
                   ‘Proprietary’ (Boeing) and                referenced contracts in support of her
    8              ‘Proprietary and Confidential’            assertion. Fed. R. Evid. 1002 (“An
    9              (SpaceX).”                                original writing, recording, or
                                                             photograph is required in order to
   10                                                        prove its content unless these rules or
   11                                                        a federal statute provides
                                                             otherwise.”).
   12
   13 RESPONSE:
   14           The contents of the nondisclosure agreements referenced in paragraph 5 of
   15 Ms. Liu’s declaration are not in dispute and have been separately authenticated by
   16 Bahram Pourmand (see Pourmand Decl. ¶ 4, Ex. A). Moreover, Ms. Liu’s
   17 testimony is relevant to show that she, as a GIP Board Member, understands the
   18 confidentiality agreements with Boeing and SpaceX and seeks to uphold them. See
   19 Daubert v. Merrill Dow Pharm., Inc., 509 U.S. 579, 587 (1993) (characterizing Fed.
   20 R. Evid. 401 as a “liberal” standard of relevance).
   21                                ____ Sustained ____ Overruled
   22
   23                      Material Objected To:                      Grounds for Objection:
   24    18.       Liu Decl. ¶ 7, p. 4, ll. 19-26:           Best evidence (Fed. R. Evid. 1002).
   25              “The Shareholders Agreement is            Ms. Liu fails to provide the
                   governed by the law of England and        referenced Shareholders Agreement
   26              Wales, contains a dispute resolution      in support of her assertion. Fed. R.
   27              provision obligating the parties to       Evid. 1002 (“An original writing,
                   resolve disputes through final and        recording, or photograph is required
   28              binding arbitration in Hong Kong          in order to prove its content unless
                                                     -18                             Case No. 2:18-cv-01269-JLS-JCG
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    1              administered by the Hong Kong        these rules or a federal statute
                   International Arbitration Centre     provides otherwise.”).
    2
                   (‘HKIAC’) under the HKIAC
    3              Administered Arbitration Rules, and
                   contains yet another confidentiality
    4
                   provision requiring them to keep
    5              confidential business information of
    6              Global IP Cayman confidential
                   while they remain a shareholder and
    7              for two years thereafter.”
    8
    9 RESPONSE:
   10         The Shareholders Agreement has been submitted as an exhibit in

   11 Plaintiffs’ moving papers (see Dkt. 29-4, Exhibit 7) and Plaintiffs do not dispute the
   12 authenticity of the Shareholders Agreement or Ms. Liu’s descriptions or
   13 characterizations of that agreement.
   14                             ____ Sustained ____ Overruled

   15
   16                      Material Objected To:                    Grounds for Objection:

   17    19.       Liu Decl. ¶ 8, p. 5, ll. 8-11:          Lack of Foundation (Fed. R. Evid.
                   “In the course and scope of its         403, 405, 601, 602 and 701);
   18              engagement as counsel for GIP,          Speculation (Fed. R. Evid. 602, 701).
   19              Milbank prepared a confidential         Ms. Liu fails to provide facts
                   legal memorandum for GIP dated          sufficient to establish the basis for
   20              April 25, 2017 (the “Milbank            her alleged personal knowledge
   21              Memo”), and thereafter circulated it    regarding Milbank’s reason for
                   to GIP for purposes of providing        circulating the Milbank Memo. As a
   22              GIP confidential legal advice.”         result, Ms. Liu’s statements amount
   23                                                      to nothing more than speculation.
                                                           Slevin v. Home Depot, 120 F. Supp.
   24                                                      2d. 822, 835-836 (N.D. Cal. 2000)
   25                                                      (stating that a declaration based on
                                                           speculation should not be
   26                                                      considered).
   27
   28
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    1 RESPONSE:
    2                      Ms. Liu has provided facts sufficient to establish the basis for her
    3 personal knowledge regarding Milbank’s reason for circulating the Milbank Memo.
    4 Ms. Liu established, in paragraph 1 of her declaration, that she has been a member
    5 of the GIP board of directors since June 3, 2016. Prior to the text quoted by
    6 Plaintiffs, Ms. Liu further states, “In or about July 2016, GIP retained the law firm
    7 of Milbank, Tweed, Hadley & McCloy LLP, including Partner Dara Panahy
    8 (collectively “Milbank”), to provide confidential legal advice to GIP.” Accordingly,
    9 Ms. Liu’s statement also does not constitute speculation. See Fed. R. Evid. 602;
   10 Strong v. Valdez Fine Foods, 724 F.3d 1042, 1045 (9th Cir. 2013) (“[T]he
   11 requirement of personal knowledge imposes only a minimal burden on a witness; if
   12 reasonable persons could differ as to whether the witness had an adequate
   13 opportunity to observe, the witness's testimony is admissible.”).
   14                                    ____ Sustained ____ Overruled
   15
   16                       Material Objected To:                       Grounds for Objection:
   17    20.       Liu Decl. ¶ 10, p. 6, ll. 1-4:              Lack of Foundation (Fed. R. Evid.
   18              “In the course and scope of his work        403, 405, 601, 602 and 701);
                   as general counsel, Chen prepared a         Speculation (Fed. R. Evid. 602, 701).
   19              confidential legal memorandum for           Ms. Liu fails to provide facts
   20              GIP dated June 14, 2017 (the ‘Chen          sufficient to establish the basis for
                   Memo’), and thereafter circulated it        her alleged personal knowledge
   21              to GIP for purposes of providing            regarding Chen’s reason for
   22              GIP confidential legal advice.”             circulating the Chen Memo. As a
                                                               result, Ms. Liu’s statements amount
   23                                                          to nothing more than speculation.
   24                                                          Slevin v. Home Depot, 120 F. Supp.
                                                               2d. 822, 835-836 (N.D. Cal. 2000)
   25                                                          (stating that a declaration based on
   26                                                          speculation should not be
                                                               considered).
   27
   28
                                                        -20                            Case No. 2:18-cv-01269-JLS-JCG
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    1 RESPONSE:
    2                      Ms. Liu has provided facts sufficient to establish the basis for her
    3 personal knowledge regarding Chen’s reason for circulating the Chen Memo. Ms.
    4 Liu established, through paragraph 1 of her declaration, that she has served as a
    5 member of the GIP board of directors since June 3, 2016. She further established, in
    6 paragraph 10 preceding the text quoted by Plaintiffs, that “GIP hired Chris Chen to
    7 serve as GIP’s in-house general counsel.” Ms. Liu has thus provided sufficient
    8 foundation for his knowledge regarding Chen’s work “for the purpose of providing
    9 GIP confidential legal advice.” Accordingly, Ms. Liu’s statement also does not
   10 constitute speculation. See Fed. R. Evid. 602; Strong v. Valdez Fine Foods, 724
   11 F.3d 1042, 1045 (9th Cir. 2013) (“[T]he requirement of personal knowledge
   12 imposes only a minimal burden on a witness; if reasonable persons could differ as to
   13 whether the witness had an adequate opportunity to observe, the witness's testimony
   14 is admissible.”).
   15                                    ____ Sustained ____ Overruled
   16
   17                       Material Objected To:                       Grounds for Objection:
   18    21.       Liu Decl. ¶ 11, p. 6, ll. 14-17:            Lack of Foundation (Fed. R. Evid.
   19              “Except for the Individual Plaintiffs,      403, 405, 601, 602 and 701);
                   I believe that all GIP directors and        Speculation (Fed. R. Evid. 602, 701).
   20              executives have treated the Chen            Ms. Liu fails to provide facts
   21              Memo and its contents                       sufficient to establish the basis for
                   confidentially and kept them                her alleged personal knowledge as to
   22              internal to GIP or Bronzelink.”             how GIP directors and executives
   23                                                          treated the Chen Memo and/or
                                                               whether they kept it internal to GIP
   24                                                          or Bronzelink. As a result, Ms. Liu’s
   25                                                          statements amount to nothing more
                                                               than speculation. Slevin v. Home
   26                                                          Depot, 120 F. Supp. 2d. 822, 835-836
   27                                                          (N.D. Cal. 2000) (stating that a
                                                               declaration based on speculation
   28                                                          should not be considered).
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    1
    2 RESPONSE:
    3                      Ms. Liu has provided facts sufficient to establish the basis for her
    4 personal knowledge regarding how GIP Board Members and executives treated the
    5 Chen Memo and whether they kept it internal to GIP or Bronzelink. Immediately
    6 prior to the text quoted by Plaintiffs, Ms. Liu stated, “I received a copy of the Chen
    7 Memo on or about June 14, 2017, in my capacity as a member of the Board of
    8 Directors of GIP. As a Board Member of GIP, I reviewed the Chen Memo and
    9 discussed its contents with other GIP directors and GIP executives in confidential
   10 settings, for the purpose of determining what, if any, measures GIP should take in
   11 response to the Chen Memo.” Accordingly, Ms. Liu’s statement also does not
   12 constitute speculation. See Fed. R. Evid. 602; Strong v. Valdez Fine Foods, 724
   13 F.3d 1042, 1045 (9th Cir. 2013) (“[T]he requirement of personal knowledge
   14 imposes only a minimal burden on a witness; if reasonable persons could differ as to
   15 whether the witness had an adequate opportunity to observe, the witness's testimony
   16 is admissible.”).
   17                                    ____ Sustained ____ Overruled
   18
   19                       Material Objected To:                       Grounds for Objection:
   20    22.       Liu Decl. ¶ 12, p. 6, ll. 24-25:            Lack of Foundation (Fed. R. Evid.
   21              “To my knowledge, Dong Yin had              403, 405, 601, 602 and 701);
                   no involvement whatsoever in the            Speculation (Fed. R. Evid. 602, 701).
   22              hiring of Mr. Chen as GIP’s general         Ms. Liu fails to provide facts
   23              counsel and Board secretary.”               sufficient to establish the basis for
                                                               her alleged personal knowledge
   24                                                          regarding Dong Yin’s involvement
   25                                                          with the hiring of Mr. Chen. As a
                                                               result, Ms. Liu’s statements amount
   26                                                          to nothing more than speculation.
   27                                                          Slevin v. Home Depot, 120 F. Supp.
                                                               2d. 822, 835-836 (N.D. Cal. 2000)
   28                                                          (stating that a declaration based on
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    1                                                         speculation should not be
                                                              considered).
    2
    3
        RESPONSE:
    4
                           Ms. Liu’s statement does not lack foundation because she is speaking
    5
        only to her knowledge. Moreover, she has provided facts sufficient to establish the
    6
        basis for her personal knowledge regarding Dong Yin’s involvement with the hiring
    7
        of Mr. Chen because she has been a member of the GIP board of directors since
    8
        June 3, 2016, as established by paragraph 1 of her declaration. Accordingly, Ms.
    9
        Liu’s statement also does not constitute speculation. See Fed. R. Evid. 602; Strong
   10
        v. Valdez Fine Foods, 724 F.3d 1042, 1045 (9th Cir. 2013) (“[T]he requirement of
   11
        personal knowledge imposes only a minimal burden on a witness; if reasonable
   12
        persons could differ as to whether the witness had an adequate opportunity to
   13
        observe, the witness's testimony is admissible.”).
   14
                                        ____ Sustained ____ Overruled
   15
   16
                            Material Objected To:                      Grounds for Objection:
   17
         23.       Liu Decl. ¶ 14, p. 7, ll. 12-15:           Lack of Foundation (Fed. R. Evid.
   18              “I am also not aware of anyone at          403, 405, 601, 602 and 701);
   19              GIP or Bronzelink believing that           Speculation (Fed. R. Evid. 602, 701);
                   this facility agreement requires           Relevance (Fed. R. Evid. 401).
   20              Bronzelink or GIP to disclose              Ms. Liu fails to provide facts
   21              otherwise attorney-client privileged       sufficient to establish the basis for
                   information to Amore or Dong               her alleged personal knowledge of
   22              Yin.”                                      what anyone at GIP or Bronzelink
   23                                                         believed regarding the requirements
                                                              of the facility agreement. As a result,
   24                                                         Mr. Liu’s statements amount to
   25                                                         nothing more than speculation and
                                                              are irrelevant. Slevin v. Home Depot,
   26                                                         120 F. Supp. 2d. 822, 835-836 (N.D.
   27                                                         Cal. 2000) (stating that a declaration
                                                              based on speculation is irrelevant and
   28
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    1                                                         should not be considered).
    2
    3 RESPONSE:
    4                      Ms. Liu’s statement does not lack foundation because she is speaking
    5 only to her knowledge. Moreover, she has provided facts sufficient to establish the
    6 basis for her personal knowledge regarding how the Facility Agreement was
    7 interpreted and applied by GIP or Bronzelink because she has been a member of
    8 both companies’ boards of directors since June 3, 2016, as established by paragraph
    9 1 of her declaration. Accordingly, Ms. Liu’s statement also does not constitute
   10 speculation. See Fed. R. Evid. 602; Strong v. Valdez Fine Foods, 724 F.3d 1042,
   11 1045 (9th Cir. 2013) (“[T]he requirement of personal knowledge imposes only a
   12 minimal burden on a witness; if reasonable persons could differ as to whether the
   13 witness had an adequate opportunity to observe, the witness's testimony is
   14 admissible.”). Moreover, this statement is relevant to Plaintiffs’ contention in its
   15 Motion for Judicial Determination that “[t]he Facility Agreement . . . obligated
   16 Bronzelink to provide copies of the Milbank and Chen Memos to Amore, and thus
   17 to Dong Yin.” (Dkt. 31 at 16:14-16).
   18                                   ____ Sustained ____ Overruled
   19
   20                       Material Objected To:                      Grounds for Objection:
   21    24.       Liu Decl. ¶ 16, p. 8, ll. 17-22:           Lack of Foundation (Fed. R. Evid.
   22              “Later that same day, Mr.                  602).
                   Youssefzadeh sent an email to              Ms. Liu is not copied on the
   23              SpaceX and an email to Boeing              referenced emails, nor does she state
   24              Satellite Systems International            how she received copies of the
                   (“Boeing”) purporting to reveal            emails; further, the referenced
   25              some of the contents of the Milbank        exhibits do not appear to be true and
   26              Memo and the Chen Memo.                    correct copies of the referenced
                   Attached as Exhibits I – J to the          emails. The true and correct copies
   27              Compendium are true and correct            have been submitted into evidence by
   28              copies of these emails, which have         Plaintiffs with the Motion. See

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    1              been partly redacted to protect the          Plaintiffs’ Compendium of Exhibits,
                   privilege.”                                  Exhs. 45-46.
    2
    3
        RESPONSE:
    4
                           Plaintiffs fail to provide any basis for their belief that Exhibits I and J
    5
        are not true and correct copies of the emails sent from Emil Youssefzadeh to Boeing
    6
        and SpaceX. Indeed, Exhibits I and J to GIP’s Compendium of Exhibits in support
    7
        of its Opposition are the exact same documents as Exhibits 45 and 46 to Plaintiff’s
    8
        Compendium of Exhibits, which the exception of variations in redactions.
    9
        Moreover, Ms. Liu’s testimony is relevant not for the purpose of authenticating the
   10
        emails (the authenticity is not disputed) but instead to show that Ms. Liu and GIP
   11
        did not have advanced notice of or authorize the sending of those emails or the
   12
        making of those disclosures.
   13
                                         ____ Sustained ____ Overruled
   14
   15
                            Material Objected To:                       Grounds for Objection:
   16
         25.       Liu Decl. ¶ 16, p. 8, ll. 23-27:             Improper Legal Conclusion; Lack of
   17              “I consider these emails to                  Foundation (Fed. R. Evid. 602);
   18              constitute unauthorized disclosures          Improper Opinion of a Lay Witness
                   of GIP’s privileged information. I           (Fed. R. Evid. 701) with respect to
   19              also believe that Emil Youssefzadeh          the terms “unauthorized” and
   20              breached his fiduciary duty (as a            “breached his fiduciary duty.” Ms.
                   Board Member) to GIP when he                 Liu provides no factual basis for her
   21              unilaterally made these disclosures          purported “understanding.”
   22              without prior notice or approval
                   from the Board.”
   23
   24 RESPONSE:
   25         Whether Ms. Liu considered Mr. Youssefzadeh’s emails as authorized
   26 by GIP is not an improper legal conclusion. Indeed, whether GIP permitted or
   27 approved of Mr. Youssefzadeh’s conduct is a factual matter not based in law. See,
   28 e.g., Hangarter v. Provident Life and Acc. Ins. Co., 373 F.3d 998, 1016 (9th Cir.
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    1 2004) (finding that testimony that defendants deviated from industry standards
    2 supported a finding that they acted in bad faith, and that such testimony did not
    3 reach a legal conclusion that defendants actually acted in bad faith).
    4                                   ____ Sustained ____ Overruled
    5
    6                       Material Objected To:                     Grounds for Objection:
    7    26.       Liu Decl. ¶ 18, p. 9, ll. 10-18:          Lack of Foundation (Fed. R. Evid.
    8              “To the extent there have been            403, 405, 601, 602, 701); Improper
                   further communications between            Legal Conclusion; Improper Opinion
    9              GIP and its business partners             of a Lay Witness (Fed. R. Evid. 701)
   10              Boeing Satellite Systems                  with respect to the terms “shared
                   International (GIP’s satellite            interest” and “reasonably necessary.”
   11              provider) and SpaceX (GIP’s               Ms. Liu fails to provide any
   12              satellite launch provider) regarding      underlying factual basis for how she
                   export control compliance, those          came to know this information and
   13              communications were made at a             how she knows that “the parties had
   14              time when the parties had and             and continue to have a shared interest
                   continue to have a shared interest in     in export control compliance
   15              export control compliance                 (particularly in the context of the
   16              (particularly in the context of the       allegations being raised by the
                   allegations being raised by the           Individual Plaintiffs and the multiple
   17              Individual Plaintiffs and the             lawsuits that they have filed).”
   18              multiple lawsuits that they have
                   filed), the communications were
   19              reasonably necessary to further that
   20              shared interest, and the
                   communications were made on a
   21              confidential basis pursuant to the
   22              parties’ nondisclosure agreements.”

   23
        RESPONSE:
   24
                           Ms. Liu is describing the time period in which communications were
   25
        sent to GIP’s business partners, Boeing and SpaceX, and her understanding of the
   26
        joint disclosure arrangements between these entities, on the basis of her personal
   27
        knowledge as a member of GIP’s board of directors. Ms. Liu is not making any
   28
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    1 conclusion regarding the applicability of the nondisclosure agreements to these
    2 communications. See, e.g., Hangarter v. Provident Life and Acc. Ins. Co., 373 F.3d
    3 998, 1016 (9th Cir. 2004) (finding that testimony that defendants deviated from
    4 industry standards supported a finding that they acted in bad faith, and that such
    5 testimony did not reach a legal conclusion that defendants actually acted in bad
    6 faith).
    7                                    ____ Sustained ____ Overruled
    8
    9                       Material Objected To:                       Grounds for Objection:
   10    27.       Liu Decl. ¶ 19, p. 9, ll. 21-23:            Lack of Foundation (Fed. R. Evid.
   11              “It was my understanding from               403, 405, 601, 602, 701);
                   conversations with other GIP Board          Inadmissible Hearsay (Fed. R. Evid.
   12              Members that Dr. Altwein and Ms.            801).
   13              Miao were business consultants              Ms. Liu fails to provide facts
                   retained by Bronzelink.”                    sufficient to establish the basis for
   14                                                          any alleged personal knowledge as to
   15                                                          whether Dr. Altwein and Ms. Miao
                                                               were business consultants retained by
   16                                                          Bronzelink. She also cannot base her
   17                                                          assertion on alleged conversations
                                                               with other GIP Board Members (who
   18                                                          are unidentified nonetheless) which
   19                                                          are out of court statements that
                                                               cannot be introduced for the truth of
   20                                                          the matter asserted. Fed. R. Evid.
   21                                                          801.

   22
        RESPONSE:
   23
                           Ms. Liu has provided facts sufficient to establish the basis for her
   24
        personal knowledge regarding whether Dr. Altwein and Ms. Miao were business
   25
        consultants retained by Bronzelink because she states that she learned this
   26
        information through conversations with other GIP Board Members. Accordingly,
   27
        Ms. Liu’s statement also does not constitute speculation. These conversations are
   28
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    1 also not inadmissible hearsay because Ms. Liu is not attempting to speak to a
    2 specific statement from her conversations with other GIP board members. Even if
    3 these conversations constitute a statement for purposes of Federal Rule of Evidence
    4 801, Ms. Liu is not seeking to admit it for the truth of the matter asserted, but rather
    5 to illustrate that she had no reason to believe Dr. Altwein and Ms. Miao were sent
    6 by Dong Yin, as she clarifies in the same paragraph. See Fed. R. Evid. 602; Strong
    7 v. Valdez Fine Foods, 724 F.3d 1042, 1045 (9th Cir. 2013) (“[T]he requirement of
    8 personal knowledge imposes only a minimal burden on a witness; if reasonable
    9 persons could differ as to whether the witness had an adequate opportunity to
   10 observe, the witness's testimony is admissible.”).
   11                                ____ Sustained ____ Overruled
   12
   13 D.        Objections to Declaration of William Wade.
   14
   15                      Material Objected To:                    Grounds for Objection:
   16    28.       Wade Decl. ¶ 3, p. 3, ll. 1-4:          Lack of Foundation (Fed. R. Evid.
   17              “Based on my observations of the        403, 405, 601, 602 and 701);
                   Bronzelink-appointed Board              Speculation (Fed. R. Evid. 602, 701).
   18              Members, I believe that they are just   Mr. Wade fails to provide facts
   19              as committed as I am to ensuring        sufficient to establish the basis for his
                   that GIP Cayman and Global IP           alleged personal knowledge
   20              USA, Inc. (‘GIP USA’)                   regarding the commitment levels of
   21              (collectively ‘GIP’) fully complies     Bronzelink-appointed Board
                   with ITAR and EAR.”                     Members to ensuring GIP complies
   22                                                      with ITAR and EAR. As a result, Mr.
   23                                                      Wade’s statements amount to nothing
                                                           more than speculation and are
   24                                                      irrelevant. Slevin v. Home Depot, 120
   25                                                      F. Supp. 2d. 822, 835-836 (N.D. Cal.
                                                           2000) (stating that a declaration
   26                                                      based on speculation is irrelevant and
   27                                                      should not be considered).

   28
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    1 RESPONSE:
    2                      Mr. Wade is not speaking directly to the “commitment levels of
    3 Bronzelink-appointed Board Members to ensuring GIP complies with ITAR and
    4 EAR, but is rather speaking to his personal belief based on his observations as a
    5 member of GIP’s Board of Directors. Accordingly, Mr. Wade’s statement also does
    6 not constitute speculation. See Fed. R. Evid. 602; Strong v. Valdez Fine Foods, 724
    7 F.3d 1042, 1045 (9th Cir. 2013) (“[T]he requirement of personal knowledge
    8 imposes only a minimal burden on a witness; if reasonable persons could differ as to
    9 whether the witness had an adequate opportunity to observe, the witness's testimony
   10 is admissible.”).
   11                                   ____ Sustained ____ Overruled
   12
   13                       Material Objected To:                      Grounds for Objection:
   14    29.       Wade Decl. ¶ 4, p. 3, ll. 11-14:           Lack of Foundation (Fed. R. Evid.
   15              “I was informed that Dr. Altwein           403, 405, 601, 602 and 701);
                   and Ms. Miao were business                 Speculation (Fed. R. Evid. 602, 701);
   16              consultants. Although I was not            Relevance (Fed. R. Evid. 401).
   17              formally notified of the purpose of        Mr. Wade fails to provide facts
                   their visit, I assumed that they were      sufficient to establish the basis for his
   18              sent on behalf of Bronzelink to help       alleged personal knowledge as to
   19              Bronzelink gauge the economic              whether Dr. Altwein and Ms. Miao
                   prospects of GIP’s plans to launch         were sent on behalf of Bronzelink
   20              satellites and provide                     and/or the reason they were sent; in
   21              telecommunication services for             fact, Mr. Wade admits he made an
                   Africa.”                                   assumption as to the reason. As a
   22                                                         result, Mr. Wade’s statements
   23                                                         amount to nothing more than
                                                              speculation and are irrelevant. Slevin
   24                                                         v. Home Depot, 120 F. Supp. 2d. 822,
   25                                                         835-836 (N.D. Cal. 2000) (stating
                                                              that a declaration based on
   26                                                         speculation is irrelevant and should
   27                                                         not be considered).

   28
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    1
    2 RESPONSE:
    3                      Mr. Wade states, prior to the text quoted by Plaintiffs, that “[o]n or
    4 about November 16, 2017, I along with a number of Global IP executives attended a
    5 meeting with Dr. Michael Altwein and Ms. Pin Fen Miao at GIP USA's office in
    6 Los Angeles.” He thus laid sufficient foundation as to his statement that he was not
    7 formally notified of the purpose of Dr. Altwein’s and Ms. Miao’s visit.
    8 Accordingly, Mr. Wade’s statement also does not constitute speculation. See Fed.
    9 R. Evid. 602; Strong v. Valdez Fine Foods, 724 F.3d 1042, 1045 (9th Cir. 2013)
   10 (“[T]he requirement of personal knowledge imposes only a minimal burden on a
   11 witness; if reasonable persons could differ as to whether the witness had an adequate
   12 opportunity to observe, the witness's testimony is admissible.”).
   13                                    ____ Sustained ____ Overruled
   14
   15                       Material Objected To:                        Grounds for Objection:
   16
   17    30.       Wade Decl. ¶ 4, p. 3, ll. 22-23:             Lack of Foundation (Fed. R.
   18              “Again, this is contrary to my               Evid. 403, 405, 601, 602 and 701);
                   understanding, as I believed at the          Speculation (Fed. R. Evid. 602, 701).
   19              time, and still do, that [Dr. Altwein        Mr. Wade fails to provide facts
   20              and Ms. Miao] were from                      sufficient to establish the basis for his
                   Bronzelink.”                                 alleged personal knowledge as to
   21                                                           whether Dr. Altwein and Ms. Miao
   22                                                           were from Bronzelink. As a result,
                                                                Mr. Wade’s statements amount to
   23                                                           nothing more than speculation and
   24                                                           are irrelevant. Slevin v. Home Depot,
                                                                120 F. Supp. 2d. 822, 835-836 (N.D.
   25                                                           Cal. 2000) (stating that a declaration
   26                                                           based on speculation is irrelevant and
                                                                should not be considered).
   27
   28
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    1 RESPONSE:
    2                      Mr. Wade statement’s does not lack foundation and is not speculative
    3 because he is speaking only to his knowledge and personal understanding.
    4 Moreover, he has provided facts sufficient to establish the basis for her personal
    5 knowledge regarding whether Dr. Altwein and Ms. Miao were from Bronzelink
    6 because he is a member of the GIP board of directors and met with Dr. Altwein and
    7 Ms. Miao on November 16, 2017, as established by paragraph 4 of Mr. Wade’s
    8 declaration. Accordingly, Mr. Wade’s statement also does not constitute
    9 speculation. See Fed. R. Evid. 602; Strong v. Valdez Fine Foods, 724 F.3d 1042,
   10 1045 (9th Cir. 2013) (“[T]he requirement of personal knowledge imposes only a
   11 minimal burden on a witness; if reasonable persons could differ as to whether the
   12 witness had an adequate opportunity to observe, the witness's testimony is
   13 admissible.”).
   14                                   ____ Sustained ____ Overruled
   15
   16 E.        Objections to Declaration of Yuen Cheung Wong.
   17
   18                       Material Objected To:                      Grounds for Objection:
   19    31.       Wong Decl. ¶ 3, p. 2, ll. 23-26:           Lack of Foundation (Fed. R. Evid.
   20              “. . . Bronzelink from time to time        403, 405, 601, 602 and 701);
                   receives privileged and/or                 Speculation (Fed. R. Evid. 602, 701).
   21              confidential information from GIP.         Mr. Wong fails to provide facts
   22              To my knowledge, Bronzelink treats         sufficient to establish the basis for his
                   all such information as privileged         alleged personal knowledge as to
   23              and/or confidential, and does not          how Bronzelink treats privileged
   24              disclose it to anyone outside of           and/or confidential information
                   Bronzelink except pursuant to a            relating to GIP and/or whether it
   25              non-disclosure agreement and for           discloses such information to anyone
   26              business reasons.”                         outside Bronzelink. As a result, Mr.
                                                              Wong’s statements amount to
   27                                                         nothing more than speculation. Slevin
   28                                                         v. Home Depot, 120 F. Supp. 2d. 822,

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    1                                                      835-836 (N.D. Cal. 2000) (stating
                                                           that a declaration based on
    2
                                                           speculation should not be
    3                                                      considered).
    4
    5 RESPONSE:
    6         Mr. Wong has provided facts sufficient to establish the basis for his

    7 personal knowledge regarding how Bronzelink treats privileged or confidential
    8 information relating to GIP and whether it discloses such information to anyone
    9 outside Bronzelink. Mr. Wong established, in paragraph 1 of his declaration, that he
   10 has served on the Board of Directors for Bronzelink since June 3, 2016. Mr. Wong
   11 clearly states that he has an understanding regarding this matter despite not being
   12 involved in Bronzelink’s day-to-day operations. Accordingly, Mr. Wong’s
   13 statement also does not constitute speculation. See Fed. R. Evid. 602; Strong v.
   14 Valdez Fine Foods, 724 F.3d 1042, 1045 (9th Cir. 2013) (“[T]he requirement of
   15 personal knowledge imposes only a minimal burden on a witness; if reasonable
   16 persons could differ as to whether the witness had an adequate opportunity to
   17 observe, the witness's testimony is admissible.”).
   18                             ____ Sustained ____ Overruled

   19
   20                      Material Objected To:                    Grounds for Objection:

   21    32.       Wong Decl. ¶ 4, p. 3, ll. 8-12:         Lack of Foundation (Fed. R. Evid.
                   “In my experience, Dong Yin has         403, 405, 601, 602 and 701);
   22              been interested in the commercial       Speculation (Fed. R. Evid. 602, 701).
   23              progress of GIP and has monitored       Mr. Wong fails to provide facts
                   GIP’s progress in that regard.          sufficient to establish the basis for his
   24              However, Dong Yin’s and Amore’s         alleged personal knowledge with
   25              interest and influence over             regard to Dong Yin’s interest and
                   Bronzelink and GIP has not              influence over Bronzelink and GIP.
   26              extended beyond that of a typical       As a result, Mr. Wong’s statements
   27              commercial lender minding a nine-       amount to nothing more than
                   figure investment.”                     speculation. Slevin v. Home Depot,
   28                                                      120 F. Supp. 2d. 822, 835-836 (N.D.
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    1                                                         Cal. 2000) (stating that a declaration
                                                              based on speculation should not be
    2
                                                              considered). Additionally, Mr. Wong
    3                                                         has provided no foundation for his
                                                              opinion that “Dong Yin’s and
    4
                                                              Amore’s interest and influence over
    5                                                         Bronzelink and GIP has not extended
    6                                                         beyond that of a typical commercial
                                                              lender minding a nine-figure
    7                                                         investment.”
    8
    9 RESPONSE:
   10         Mr. Wong has provided facts sufficient to establish the basis for his

   11 personal knowledge regarding Dong Yin’s and Amore’s interest and influence over
   12 GIP and whether they requested or received GIP attorney-client privileged
   13 communications or attorney work product. Prior to the text quoted by Plaintiffs, Mr.
   14 Wong states, “Through my work with GIP, I am aware that Dong Yin is the parent
   15 company of Amore Resources Limited (‘Amore’).” Mr. Wong further established,
   16 in paragraph one of his declaration, that he is a member of GIP’s Board of Directors.
   17 Mr. Wong’s statements are further not speculation because he specifically states that
   18 he is speaking only to his knowledge. See Fed. R. Evid. 602; Strong v. Valdez Fine
   19 Foods, 724 F.3d 1042, 1045 (9th Cir. 2013) (“[T]he requirement of personal
   20 knowledge imposes only a minimal burden on a witness; if reasonable persons could
   21 differ as to whether the witness had an adequate opportunity to observe, the
   22 witness's testimony is admissible.”).
   23                                 ____ Sustained ____ Overruled

   24
   25                      Material Objected To:                       Grounds for Objection:

   26    33.       Wong Decl. ¶ 5, p. 3, l. 28 – p. 4, l.     Best evidence (Fed. R. Evid. 1002).
                   1:                                         Mr. Wong fails to provide the
   27              “These contracts are stamped               referenced contracts in support of his
   28              ‘Proprietary’ (Boeing) and                 assertion. Fed. R. Evid. 1002 (“An

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    1              ‘Proprietary and Confidential’             original writing, recording, or
                   (SpaceX).”                                 photograph is required in order to
    2
                                                              prove its content unless these rules or
    3                                                         a federal statute provides
                                                              otherwise.”).
    4
    5
        RESPONSE:
    6
                           The contents of the nondisclosure agreements referenced in paragraph 5
    7
        of Mr. Wong’s declaration are not in dispute and have been separately authenticated
    8
        by Bahram Pourmand (see Pourmand Decl. ¶ 4, Ex. A). Moreover, Mr. Wong’s
    9
        testimony is relevant to show that she, as a GIP Board Member, understands the
   10
        confidentiality agreements with Boeing and SpaceX and seeks to uphold them. See
   11
        Daubert v. Merrill Dow Pharm., Inc., 509 U.S. 579, 587 (1993) (characterizing Fed.
   12
        R. Evid. 401 as a “liberal” standard of relevance).
   13
                                        ____ Sustained ____ Overruled
   14
   15
                            Material Objected To:                      Grounds for Objection:
   16
         34.       Wong Decl. ¶ 7, p. 5, ll. 1-9:             Best evidence (Fed. R. Evid. 1002).
   17              “The Shareholders Agreement is             Mr. Wong fails to provide the
   18              governed by the law of England and         referenced contracts in support of his
                   Wales, contains a dispute resolution       assertion. Fed. R. Evid. 1002 (“An
   19              provision obligating the parties to        original writing, recording, or
   20              resolve disputes through final and         photograph is required in order to
                   binding arbitration in Hong Kong           prove its content unless these rules or
   21              administered by the Hong Kong              a federal statute provides
   22              International Arbitration Centre           otherwise.”).
                   (‘HKIAC’) under the HKIAC
   23              Administered Arbitration Rules, and
   24              contains yet another confidentiality
                   provision requiring them to keep
   25              confidential business information of
   26              Global IP Cayman confidential
                   while they remain a shareholder and
   27              for two years thereafter. The form
   28              and content of their Shareholders
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    1              Agreement are considered
                   confidential business information of
    2
                   GIP.”
    3
    4 RESPONSE:
    5                      The Shareholders Agreement has been submitted as an exhibit in
    6 Plaintiffs’ moving papers (see Dkt. 29-4, Exhibit 7) and Plaintiffs do not dispute the
    7 authenticity of the Shareholders Agreement or Mr. Wong’s descriptions or
    8 characterizations of that agreement.
    9                                   ____ Sustained ____ Overruled
   10
   11                       Material Objected To:                     Grounds for Objection:
   12    35.       Wong Decl. ¶ 9, p. 6, ll. 5-7:            Lack of Foundation (Fed. R. Evid.
   13              “To my knowledge, except for the          403, 405, 601, 602 and 701);
                   Individual Plaintiffs, all GIP            Speculation (Fed. R. Evid. 602, 701).
   14              directors and executives have             Mr. Wong fails to provide facts
   15              treated the Milbank Memo and its          sufficient to establish the basis for his
                   contents confidentially and kept          alleged personal knowledge as to
   16              them internal to GIP or                   how GIP directors and executives
   17              Bronzelink.”                              have treated the Milbank Memo
                                                             and/or whether they kept it and its
   18                                                        contents internal to GIP and/or
   19                                                        Bronzelink. As a result, Mr. Wong’s
                                                             statements amount to nothing more
   20                                                        than speculation. Slevin v. Home
   21                                                        Depot, 120 F. Supp. 2d. 822, 835-836
                                                             (N.D. Cal. 2000) (stating that a
   22                                                        declaration based on speculation
   23                                                        should not be considered).
   24
        RESPONSE:
   25
                Mr. Wong has provided facts sufficient to establish the basis for his personal
   26
        knowledge as to how GIP Board Members and executives treated the Milbank
   27
        Memo and whether they kept it internal to GIP or Bronzelink. Prior to the text
   28
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        SMRH:486221230.2                             GIP’S RESPONSES TO PLAINTIFFS’ EVIDENTIARY OBJECTIONS TO
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    1 quoted by Plaintiffs, Mr. Wong states, “I received a copy of the Milbank Memo on
    2 or about April 25, 2017, in my capacity as a member of the board of directors of
    3 GIP. A true and correct (albeit redacted) copy of that memorandum is attached as
    4 Exhibit E to the Compendium. As a Board Member of GIP, I reviewed the Milbank
    5 Memo and discussed its contents with other GIP directors and GIP executives in
    6 confidential settings, for the purpose of assessing what, if any, measures GIP should
    7 take in response to the Milbank Memo. I consider the Milbank Memo to be a
    8 confidential, privileged communication from GIP’s counsel, and I have treated it as
    9 such.” See Fed. R. Evid. 602; Strong v. Valdez Fine Foods, 724 F.3d 1042, 1045
   10 (9th Cir. 2013) (“[T]he requirement of personal knowledge imposes only a minimal
   11 burden on a witness; if reasonable persons could differ as to whether the witness had
   12 an adequate opportunity to observe, the witness's testimony is admissible.”). Mr.
   13 Wong’s statements are further not speculation because he specifically states that he
   14 is speaking only to his knowledge.
   15                                 ____ Sustained ____ Overruled
   16
   17                      Material Objected To:                     Grounds for Objection:
   18    36.       Wong Decl. ¶ 11, p. 7, ll. 1-3:          Lack of Foundation (Fed. R. Evid.
   19              “Except for the Individual Plaintiffs,   403, 405, 601, 602 and 701);
                   I believe that all GIP directors and     Speculation (Fed. R. Evid. 602, 701).
   20              executives have treated the Chen         Mr. Wong fails to provide facts
   21              Memo and its contents                    sufficient to establish the basis
                   confidentially and kept them             for his alleged personal knowledge as
   22              internal to GIP or Bronzelink.”          to how GIP directors and executives
   23                                                       have treated the Chen Memo and/or
                                                            whether they kept it and its contents
   24                                                       internal to GIP and/or Bronzelink. As
   25                                                       a result, Mr. Wong’s statements
                                                            amount to nothing more than
   26                                                       speculation. Slevin v. Home Depot,
   27                                                       120 F. Supp. 2d. 822, 835-836 (N.D.

   28
                                                    -36                             Case No. 2:18-cv-01269-JLS-JCG
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                                                             DECLARATIONS FILED IN SUPPORT OF ITS OPPOSITION
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    1                                                          Cal. 2000) (stating that a declaration
                                                               based on speculation should not be
    2
                                                               considered).
    3
    4 RESPONSE:
    5                      Mr. Wong has provided facts sufficient to establish the basis for his
    6 personal knowledge regarding how GIP Board Members and executives treated the
    7 Chen Memo and whether they kept it internal to GIP or Bronzelink. Immediately
    8 prior to the text quoted by Plaintiffs, Mr. Wong stated, “I received a copy of the
    9 Chen Memo on or about June 14, 2017, in my capacity as a member of the Board of
   10 Directors of GIP. . . . As a Board Member of GIP, I reviewed the Chen Memo and
   11 discussed its contents with other GIP directors and executives in confidential
   12 settings, for the purpose of determining what, if any, measures GIP should take in
   13 response to the Chen Memo.” Accordingly, Mr. Wong’s statement also does not
   14 constitute speculation. See Fed. R. Evid. 602; Strong v. Valdez Fine Foods, 724
   15 F.3d 1042, 1045 (9th Cir. 2013) (“[T]he requirement of personal knowledge
   16 imposes only a minimal burden on a witness; if reasonable persons could differ as to
   17 whether the witness had an adequate opportunity to observe, the witness's testimony
   18 is admissible.”).
   19                                   ____ Sustained ____ Overruled
   20
   21                       Material Objected To:                       Grounds for Objection:
   22    37.       Wong Decl. ¶ 12, p. 7, ll. 7-10:            Lack of Foundation (Fed. R. Evid.
   23              “To my knowledge, no one at                 403, 405, 601, 602 and 701);
                   Bronzelink disclosed the Milbank            Speculation (Fed. R. Evid. 602, 701).
   24              Memo to anyone outside of                   Mr. Wong fails to provide facts
   25              Bronzelink, including to anyone at          sufficient to establish the basis for his
                   Dong Yin. To my knowledge, no               alleged personal knowledge
   26              one at Bronzelink disclosed the             regarding whether anyone at
   27              Chen Memo to anyone outside of              Bronzelink disclosed the Milbank or
                   Bronzelink, including to anyone at          Chen memos to Dong Yin or anyone
   28              Dong Yin.”                                  else outside of Bronzelink. As a
                                                    -37                                Case No. 2:18-cv-01269-JLS-JCG
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                                                                DECLARATIONS FILED IN SUPPORT OF ITS OPPOSITION
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    1                                                      result, Mr. Wong’s statements
                                                           amount to nothing more than
    2
                                                           speculation. Slevin v. Home Depot,
    3                                                      120 F. Supp. 2d. 822, 835-836 (N.D.
                                                           Cal. 2000) (stating that a declaration
    4
                                                           based on speculation should not be
    5                                                      considered).
    6
    7 RESPONSE:
    8         Mr. Wong’s statement does not lack foundation because he is speaking

    9 only to his knowledge. Moreover, he has provided facts sufficient to establish the
   10 basis for his personal knowledge regarding whether anyone at Bronzelink disclosed
   11 the Milbank or Chen memos to Dong Yin or anyone else outside of Bronzelink
   12 because he has been a member of Bronzelink’s Board of Directors since June 3,
   13 2016, as established by paragraph 1 of his declaration. Accordingly, Mr. Wong’s
   14 statement also does not constitute speculation. See Fed. R. Evid. 602; Strong v.
   15 Valdez Fine Foods, 724 F.3d 1042, 1045 (9th Cir. 2013) (“[T]he requirement of
   16 personal knowledge imposes only a minimal burden on a witness; if reasonable
   17 persons could differ as to whether the witness had an adequate opportunity to
   18 observe, the witness's testimony is admissible.”).
   19                                ____ Sustained ____ Overruled

   20
                           Material Objected To:                    Grounds for Objection:
   21
         38.       Wong Decl. ¶ 14, p. 7, ll. 22-23:       Lack of Foundation (Fed. R. Evid.
   22              “To my knowledge, no one at Dong        403, 405, 601, 602 and 701);
   23              Yin reviewed or approved Mr.            Speculation (Fed. R. Evid. 602, 701).
                   Chen’s selection as general
   24              counsel.”                               Mr. Wong fails to provide facts
   25                                                      sufficient to establish the basis for his
                                                           alleged personal knowledge with
   26                                                      respect to whether anyone at Dong
   27                                                      Yin reviewed or approved Mr.
                                                           Chen’s selection as general counsel.
   28                                                      As a result, Mr. Wong’s statements
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    1                                                      amount to nothing more than
                                                           speculation. Slevin v. Home Depot,
    2
                                                           120 F. Supp. 2d. 822, 835-836 (N.D.
    3                                                      Cal. 2000) (stating that a declaration
                                                           based on speculation should not be
    4
                                                           considered).
    5
    6 RESPONSE:
    7
    8           Mr. Wong’s statement does not lack foundation because he is speaking only
    9 to his knowledge. Moreover, he has provided facts sufficient to establish the basis
   10 for his personal knowledge regarding whether anyone at Dong Yin reviewed or
   11 approved Mr. Chen’s selection as general counsel because he has been a member of
   12 GIP’s Board of Directors since June 3, 2016, as established by paragraph 1 of his
   13 declaration. Accordingly, Mr. Wong’s statement also does not constitute
   14 speculation. See Fed. R. Evid. 602; Strong v. Valdez Fine Foods, 724 F.3d 1042,
   15 1045 (9th Cir. 2013) (“[T]he requirement of personal knowledge imposes only a
   16 minimal burden on a witness; if reasonable persons could differ as to whether the
   17 witness had an adequate opportunity to observe, the witness's testimony is
   18 admissible.”).
   19                                ____ Sustained ____ Overruled
   20
   21                      Material Objected To:                    Grounds for Objection:
   22    39.       Wong Decl. ¶ 17, p. 8, ll. 21-25:       Best evidence (Fed. R. Evid. 1002);
   23              “As is evident from the Facility        Lack of Foundation (Fed. R. Evid.
                   Agreement itself, I do not believe      403, 405, 601, 602 and 701);
   24              the Facility Agreement to allow         Speculation (Fed. R. Evid. 602, 701).
   25              Amore or Dong Yin to appoint
                   board members either to Bronzelink      Mr. Wong fails to provide the
   26              or to GIP Cayman. Instead, the          referenced Facility Agreement in
   27              Facility Agreement provides some        support of his assertion. Fed. R. Evid.
                   basic criteria and experience that      1002 (“An original writing,
   28                                                      recording, or photograph is required
                                                   -39                             Case No. 2:18-cv-01269-JLS-JCG
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                                                            DECLARATIONS FILED IN SUPPORT OF ITS OPPOSITION
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    1              must be satisfied by each board           in order to prove its content unless
                   appointee.”                               these rules or a federal statute
    2
                                                             provides otherwise.”).
    3
                                                             Mr. Wong fails to provide facts
    4
                                                             sufficient to establish the basis for his
    5                                                        alleged personal knowledge
    6                                                        regarding what the Facility
                                                             Agreement provides and whether it
    7                                                        allows Amore or Dong Yin to
    8                                                        appoint board members either to
                                                             Bronzelink or to GIP Cayman. As a
    9                                                        result, Mr. Wong’s statements
   10                                                        amount to nothing more than
                                                             speculation. Slevin v. Home Depot,
   11                                                        120 F. Supp. 2d. 822, 835-836 (N.D.
   12                                                        Cal. 2000) (stating that a declaration
                                                             based on speculation should not be
   13                                                        considered).
   14
   15 RESPONSE:
   16         The Best Evidence Rule does not apply because Mr. Wong is not

   17 seeking to prove the content of the Facility Agreement, but is rather speaking to his
   18 personal understanding and application of the Facility Agreement in his capacity as
   19 a Board Member of Bronzelink and Global-IP Cayman. See U.S. v. Gonzales-
   20 Benitez, 537 F.2d 1051, 1053 (“The [best evidence] rule does not set up an order of
   21 preferred admissibility, which must be followed to prove any fact. It is, rather, a rule
   22 applicable only when one seeks to prove the contents of documents or recordings.”).
   23 Mr. Wong’s statement does not lack foundation because he stated in the same
   24 paragraph, prior to the text quoted by Plaintiffs, “[i]n my capacity as a Board
   25 Member of Bronzelink, I am aware of the loan facility agreement between
   26 Bronzelink and Amore (the “Facility Agreement”), and have read its provisions.”
   27 Accordingly, Mr. Wong’s statement also does not constitute speculation. See Fed.
   28 R. Evid. 602; Strong v. Valdez Fine Foods, 724 F.3d 1042, 1045 (9th Cir. 2013)
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                                                              DECLARATIONS FILED IN SUPPORT OF ITS OPPOSITION
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    1 (“[T]he requirement of personal knowledge imposes only a minimal burden on a
    2 witness; if reasonable persons could differ as to whether the witness had an adequate
    3 opportunity to observe, the witness's testimony is admissible.”).
    4                      Moreover, Mr. Wong’s testimony regarding his interpretation and
    5 application of the Facility Agreement is offered to refute Plaintiffs’ assertions that
    6 he (and other Bronzelink appointed Board Members) disclose privileged
    7 information to third parties pursuant to the Facility Agreement’s terms. Mr. Wong’s
    8 testimony refutes this by stating that he does not believe the Facility Agreement
    9 requires such disclosures, and he does not make such disclosures pursuant to the
   10 Facility Agreement.
   11                                   ____ Sustained ____ Overruled
   12
   13                       Material Objected To:                     Grounds for Objection:
   14    40.       Wong Decl. ¶ 17, p. 8, ll. 25-27:         Best evidence (Fed. R. Evid. 1002);
   15              “Instead, the Facility Agreement          Improper Legal Conclusion;
                   provides some basic criteria and          Improper Opinion of a Lay Witness
   16              experience that must be satisfied by      (Fed. R. Evid. 701) with respect to
   17              each board appointee. These criteria      the term “commercially reasonable
                   are consistent with commercially          practices.”
   18              reasonable practices and ensure that      Mr. Wong has provided no
   19              adequately qualified board members        foundation for his opinion that the
                   are selected and appointed.”              Facility Agreement criteria “are
   20                                                        consistent with commercially
   21                                                        reasonable practices and ensure that
                                                             adequately qualified board members
   22                                                        are selected and appointed.” Mr.
   23                                                        Wong fails to provide the referenced
                                                             Facility Agreement in support of his
   24                                                        assertion. Fed. R. Evid. 1002 (“An
   25                                                        original writing, recording, or
                                                             photograph is required in order to
   26                                                        prove its content unless these rules or
   27                                                        a federal statute provides
                                                             otherwise.”).
   28
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                                                              DECLARATIONS FILED IN SUPPORT OF ITS OPPOSITION
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    1 RESPONSE:
    2                      The Best Evidence Rule does not apply because Mr. Wong is not
    3 seeking to prove the content of the Facility Agreement or its criteria, but is rather
    4 speaking to his knowledge regarding whether those criteria are consistent with
    5 commercially reasonable practices and ensure that adequately qualified board
    6 members are selected and appointed. See U.S. v. Gonzales-Benitez, 537 F.2d 1051,
    7 1053 (“The [best evidence] rule does not set up an order of preferred admissibility,
    8 which must be followed to prove any fact. It is, rather, a rule applicable only when
    9 one seeks to prove the contents of documents or recordings.”). Mr. Wong is
   10 speaking to his own understanding of what is a commercially reasonable practice,
   11 and his statement is therefore not an Improper Opinion of a Lay Witness. See Fed.
   12 R. Evid. 701 (“If a witness is not testifying as an expert, testimony in the form of an
   13 opinion is limited to one that is: (a) rationally based on the witness’s perception; (b)
   14 helpful to clearly understanding the witness’s testimony or to determining a fact in
   15 issue; and (c) not based on scientific, technical, or other specialized knowledge
   16 within the scope of Rule 702.”) Finally, the average layman would understand the
   17 term “commercially reasonably” and it is thus not an improper legal opinion. See
   18 United States v. Hearst, 563 F.2d 1331, 1351 (9th Cir. 1977) (testimony is not
   19 objectionable as containing a legal conclusion where the “average layman would
   20 understand those terms and ascribe to them essentially the same meaning intended”).
   21                                  ____ Sustained ____ Overruled
   22
   23                       Material Objected To:                     Grounds for Objection:
   24    41.       Wong Decl. ¶ 17, p. 8, l. 27 – p. 9, l.   Best evidence (Fed. R. Evid. 1002).
   25              2:                                        Mr. Wong fails to provide the
                   “Bronzelink retains the power to          referenced Facility Agreement in
   26              appoint individual board members,         support of his assertion. Fed. R.
   27              so long as they meet the minimum          Evid. 1002 (“An original writing,
                   criteria set forth in the Facility        recording, or photograph is required
   28              Agreement.”                               in order to prove its content unless
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    1                                                        these rules or a federal statute
                                                             provides otherwise.”).
    2
    3
        RESPONSE:
    4
                           The Best Evidence Rule does not apply because Mr. Wong is not
    5
        attempting to prove the contents of the Facility Agreement. Rather, Mr. Wong’s
    6
        testimony regarding his interpretation and application of the Facility Agreement is
    7
        offered to refute Plaintiffs’ assertions that a third party selects Board Members
    8
        pursuant to the Facility Agreement’s terms.
    9
                                       ____ Sustained ____ Overruled
   10
   11
                            Material Objected To:                     Grounds for Objection:
   12
         42.       Wong Decl. ¶ 17, p. 9, ll. 2-4:           Best evidence (Fed. R. Evid. 1002).
   13              “I also do not understand the             Mr. Wong fails to provide the
   14              Facility Agreement to require             referenced Facility Agreement in
                   Bronzelink or GIP to provide              support of his assertion. Fed. R.
   15              otherwise attorney-client privileged      Evid. 1002 (“An original writing,
   16              information or materials to Amore         recording, or photograph is required
                   or Dong Yin.”                             in order to prove its content unless
   17                                                        these rules or a federal statute
   18                                                        provides otherwise.”).

   19
        RESPONSE:
   20
                           The Best Evidence Rule does not apply because Mr. Wong is not
   21
        seeking to prove the content of the Facility Agreement, but is rather speaking to his
   22
        personal understanding of the Facility Agreement. See U.S. v. Gonzales-Benitez,
   23
        537 F.2d 1051, 1053 (“The [best evidence] rule does not set up an order of preferred
   24
        admissibility, which must be followed to prove any fact. It is, rather, a rule
   25
        applicable only when one seeks to prove the contents of documents or recordings.”).
   26
        See U.S. v. Gonzales-Benitez, 537 F.2d 1051, 1053 (“The [best evidence] rule does
   27
        not set up an order of preferred admissibility, which must be followed to prove any
   28
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    1 fact. It is, rather, a rule applicable only when one seeks to prove the contents of
    2 documents or recordings.”).
    3                                   ____ Sustained ____ Overruled
    4
    5                       Material Objected To:                     Grounds for Objection:
    6
    7    43.       Wong Decl. ¶ 17, p. 9, ll. 4-5:           Lack of Foundation (Fed. R. Evid.
    8              “I am not aware of anyone at GIP or       403, 405, 601, 602 and 701);
                   Bronzelink believing that the             Speculation (Fed. R. Evid. 602, 701).
    9              Facility Agreement requires such          Mr. Wong fails to provide facts
   10              disclosures to Amore or Dong Yin.”        sufficient to establish the basis for his
                                                             alleged personal knowledge
   11                                                        regarding what anyone at GIP or
   12                                                        Bronzelink believed regarding the
                                                             requirements of the Facility
   13                                                        Agreement. As a result, Mr. Wong’s
   14                                                        statements amount to nothing more
                                                             than speculation.
   15                                                        Slevin v. Home Depot, 120 F. Supp.
   16                                                        2d. 822, 835-836 (N.D. Cal. 2000)
                                                             (stating that a declaration based on
   17                                                        speculation should not be
   18                                                        considered).

   19
        RESPONSE:
   20
                           Mr. Wong’s statement does not lack foundation because he is speaking
   21
        only to his knowledge. Moreover, he has provided facts sufficient to establish the
   22
        basis for his personal knowledge regarding what anyone at GIP or Bronzelink
   23
        believed regarding the requirements of the facility agreement because he has been a
   24
        member of the GIP Board of Directors and the Bronzelink Board of Directors since
   25
        June 3, 2016, as established by paragraph 1 of his declaration. Accordingly, Mr.
   26
        Wong’s statement also does not constitute speculation. See Fed. R. Evid. 602;
   27
        Strong v. Valdez Fine Foods, 724 F.3d 1042, 1045 (9th Cir. 2013) (“[T]he
   28
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    1 requirement of personal knowledge imposes only a minimal burden on a witness; if
    2 reasonable persons could differ as to whether the witness had an adequate
    3 opportunity to observe, the witness's testimony is admissible.”).
    4                                ____ Sustained ____ Overruled
    5
    6                      Material Objected To:                    Grounds for Objection:
    7    44.       Wong Decl. ¶ 20, p. 10, ll. 17-22:      Lack of Foundation (Fed. R. Evid.
    8              “Later that same day, Mr.               602).
                   Youssefzadeh sent an email to           Mr. Wong is not copied on the
    9              SpaceX and an email to Boeing           referenced emails, nor does he state
   10              Satellite Systems International         how he received copies of the emails;
                   (“Boeing”) purporting to reveal         further, the referenced exhibits do not
   11              some of the contents of the Milbank     appear to be true and correct copies
   12              Memo and the Chen Memo.                 of the referenced emails. The true
                   Attached to the Compendium as           and correct copies have been
   13              Exhibits I – J are true and correct     submitted into evidence by Plaintiffs
   14              copies of these emails, which have      with the Motion. See Plaintiffs’
                   been partly redacted to protect the     Compendium of Exhibits, Exhs. 45-
   15              privilege.”                             46.
   16
   17
   18 RESPONSE:
   19         Plaintiffs fail to provide any basis for their belief that Exhibits I and J

   20 are not true and correct copies of the emails sent from Emil Youssefzadeh to Boeing
   21 and SpaceX. Indeed, Exhibits I and J to GIP’s Compendium of Exhibits in support
   22 of its Opposition are the exact same documents as Exhibits 45 and 46 to Plaintiff’s
   23 Compendium of Exhibits, with the exception of variations in redactions. Moreover,
   24 Mr. Wong’s testimony is relevant not for the purpose of authenticating the emails
   25 (the authenticity is not disputed) but instead to show that Mr. Wong and GIP did not
   26 have advanced notice of or authorize the sending of those emails or the making of
   27 those disclosures.
   28                                ____ Sustained ____ Overruled

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    1                       Material Objected To:                    Grounds for Objection:
    2    45.       Wong Decl. ¶ 20, p. 10,                  Improper Legal Conclusion;
    3              ll. 23-27:                               Improper Opinion of a Lay Witness
                   “I consider these emails to              (Fed. R. Evid. 701) with respect to
    4              constitute unauthorized disclosures      the terms “unauthorized disclosures”
    5              of GIP’s privileged information. I       and “breached his fiduciary duty.”
                   also believe that Emil
    6              Youssefzadeh breached his
    7              fiduciary duty (as a Board Member)
                   to GIP when he unilaterally made
    8              these disclosures without prior
    9              notice or approval from the Board.”

   10
        RESPONSE:
   11
                           Whether Mr. Wong considered Mr. Youssefzadeh’s emails as
   12
        authorized by GIP is not an improper legal conclusion. Indeed, whether GIP
   13
        permitted or approved of Mr. Youssefzadeh’s conduct is a factual matter not based
   14
        in law. See, e.g., Hangarter v. Provident Life and Acc. Ins. Co., 373 F.3d 998, 1016
   15
        (9th Cir. 2004) (finding that testimony that defendants deviated from industry
   16
        standards supported a finding that they acted in bad faith, and that such testimony
   17
        did not reach a legal conclusion that defendants actually acted in bad faith).
   18
                                       ____ Sustained ____ Overruled
   19
   20
                            Material Objected To:                    Grounds for Objection:
   21
         46.       Wong Decl. ¶ 22, p. 11, ll. 10-18:       Lack of Foundation (Fed. R. Evid.
   22              “To the extent that there have been      403, 405, 601, 602, 701); Improper
   23              further communications between           Legal Conclusion; Improper Opinion
                   GIP and its business partners            of a Lay Witness (Fed. R. Evid. 701)
   24              Boeing Satellite Systems                 with respect to the terms “shared
   25              International (GIP’s satellite           interest” and “reasonably necessary.”
                   provider) and SpaceX (GIP’s              Mr. Wong has provided no
   26              satellite launch provider) regarding     foundation for his statements that
   27              export control compliance, those         “those communications were made at
                   communications were made at a            a time when the parties had and
   28                                                       continue to have a shared interest in
                                                    -46                             Case No. 2:18-cv-01269-JLS-JCG
        SMRH:486221230.2                            GIP’S RESPONSES TO PLAINTIFFS’ EVIDENTIARY OBJECTIONS TO
                                                             DECLARATIONS FILED IN SUPPORT OF ITS OPPOSITION
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    1              time when the parties had and            export control compliance
                   continue to have a shared interest in    (particularly in the context of the
    2
                   export control compliance                allegations being raised by the
    3              (particularly in the context of the      Individual Plaintiffs and the multiple
                   allegations being raised by the          lawsuits that they have filed)” and
    4
                   Individual Plaintiffs and the            “the communications were
    5              multiple lawsuits that they have         reasonably necessary to further that
    6              filed), the communications were          shared interest, and the
                   reasonably necessary to further that     communications were made on a
    7              shared interest, and the                 confidential basis pursuant to the
    8              communications were made on a            parties’ nondisclosure agreements.”
                   confidential basis pursuant to the
    9              parties’ nondisclosure agreements.”
   10
   11 RESPONSE:
   12         Mr. Wong is describing the time period in which communications were

   13 sent to GIP’s business partners, Boeing and SpaceX, on the basis on his personal
   14 knowledge as a member of GIP’s board of directors. Mr. Wong is not making any
   15 conclusion regarding the applicability of the nondisclosure agreements to these
   16 communications. See, e.g., Hangarter v. Provident Life and Acc. Ins. Co., 373 F.3d
   17 998, 1016 (9th Cir. 2004) (finding that testimony that defendants deviated from
   18 industry standards supported a finding that they acted in bad faith, and that such
   19 testimony did not reach a legal conclusion that defendants actually acted in bad
   20 faith).
   21                                ____ Sustained ____ Overruled

   22
   23                      Material Objected To:                     Grounds for Objection:

   24    47.       Wong Decl. ¶ 23, p. 11, ll. 21-23:       Lack of Foundation (Fed. R.
                   “I met with them that day, and           Evid. 403, 405, 601, 602 and
   25              understood that Dr. Altwein and          701); Speculation (Fed. R. Evid.
   26              Ms. Miao were business consultants       602, 701).
                   retained by Bronzelink.”                 Mr. Wong fails to provide facts
   27                                                       sufficient to establish the basis for his
   28                                                       alleged personal knowledge
                                                    -47                             Case No. 2:18-cv-01269-JLS-JCG
        SMRH:486221230.2                            GIP’S RESPONSES TO PLAINTIFFS’ EVIDENTIARY OBJECTIONS TO
                                                             DECLARATIONS FILED IN SUPPORT OF ITS OPPOSITION
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    1                                                      regarding whether Dr. Altwein and
                                                           Ms. Miao were business consultants
    2
                                                           retained by Bronzelink. As a result,
    3                                                      Mr. Wong’s statements amount to
                                                           nothing more than speculation. Slevin
    4
                                                           v. Home Depot, 120 F. Supp. 2d. 822,
    5                                                      835-836 (N.D. Cal. 2000) (stating
    6                                                      that a declaration based on
                                                           speculation should not be
    7                                                      considered).
    8
    9 RESPONSE:
   10         Mr. Wong has provided facts sufficient to establish the basis for his

   11 personal knowledge regarding whether Dr. Altwein and Ms. Miao were business
   12 consultants retained by Bronzelink because he states that he learned this information
   13 by meeting with them on November 16, 2017. Accordingly, Mr. Wong’s statement
   14 also does not constitute speculation. See Fed. R. Evid. 602; Strong v. Valdez Fine
   15 Foods, 724 F.3d 1042, 1045 (9th Cir. 2013) (“[T]he requirement of personal
   16 knowledge imposes only a minimal burden on a witness; if reasonable persons could
   17 differ as to whether the witness had an adequate opportunity to observe, the
   18 witness's testimony is admissible.”).
   19                                ____ Sustained ____ Overruled

   20
   21                      Material Objected To:                    Grounds for Objection:

   22    48.       Wong Decl. ¶ 23, p. 11, ll. 23-25:      Lack of Foundation (Fed. R. Evid.
                   “I understood that [Dr. Altwein and     403, 405, 601, 602 and 701);
   23              Ms. Miao] were sent on behalf of        Speculation (Fed. R. Evid. 602, 701).
   24              Bronzelink to help Bronzelink           Mr. Wong fails to provide facts
                   gauge the economic prospects of         sufficient to establish the basis for his
   25              GIP’s plans to launch satellites and    alleged personal knowledge
   26              provide telecommunication services      regarding whether Dr. Altwein and
                   for Africa.”                            Ms. Miao were sent by Bronzelink
   27                                                      and/or the reason they were allegedly
   28                                                      sent by Bronzelink. As a result, Mr.
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        SMRH:486221230.2                           GIP’S RESPONSES TO PLAINTIFFS’ EVIDENTIARY OBJECTIONS TO
                                                            DECLARATIONS FILED IN SUPPORT OF ITS OPPOSITION
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    1                                                          Wong’s statements amount to
                                                               nothing more than speculation. Slevin
    2
                                                               v. Home Depot, 120 F. Supp. 2d. 822,
    3                                                          835-836 (N.D. Cal. 2000) (stating
                                                               that a declaration based on
    4
                                                               speculation should not be
    5                                                          considered).
    6
        RESPONSE:
    7
                           Mr. Wong has provided facts sufficient to establish the basis for his
    8
        personal knowledge regarding who sent Dr. Altwein and Ms. Miao and/or the reason
    9
        they were sent because he states in the same paragraph that he met with Dr. Altwein
   10
        and Ms. Miao. Accordingly, Mr. Wong’s statement also does not constitute
   11
        speculation. See Fed. R. Evid. 602; Strong v. Valdez Fine Foods, 724 F.3d 1042,
   12
        1045 (9th Cir. 2013) (“[T]he requirement of personal knowledge imposes only a
   13
        minimal burden on a witness; if reasonable persons could differ as to whether the
   14
        witness had an adequate opportunity to observe, the witness's testimony is
   15
        admissible.”).
   16
                                        ____ Sustained ____ Overruled
   17
   18
        Dated: May 8, 2018
   19
                                           SHEPPARD, MULLIN, RICHTER & HAMPTON LLP
   20
   21
   22                                      By                     /s/ Travis J. Anderson
                                                               CHARLES L. KREINDLER
   23
                                                                JENNIFER G. REMOND
   24                                                           TRAVIS J. ANDERSON
   25
                                                     Attorneys for Non Parties Global-IP Cayman
   26                                                          and Global IP USA, Inc.
   27
   28
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